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                           “EXHIBIT A” to Pretrial Order

                     Plaintiff Monette Saccameno’s Exhibit List


                                                Objection to Admission,
     Date of                                      (if so, statement of      Admissibility /
                   Description of Document
    Document                                       asserted basis of          Statement
                                                     admissibility)
                 Mortgage, Note and
                 Assignments
1   01/03/2002                                  No Objection
                 2nd Amended Complaint
                 Exhibit A
                 Cook County Chancery
                 Division Docket and
                 Complaint to Foreclose
                 US Bank Trustee v.
2   02/09/2009   Saccameno, et al.              No Objection
                 (2009-CH-05697)

                 Saccameno 001295-001302;
                 Ocwen.Sacc.001773-001776
                 Saccameno Chapter 13 -
                 Schedule D – Creditors
                 Holding Secured Claims
3   12/31/2009                                  No Objection
                 2nd Amended Complaint
                 Exhibit B
                 Saccameno Chapter 13 –
                 Original Chapter 13 Plan
4   12/31/2009                                  No Objection
                 2nd Amended Complaint
                 Exhibit C
                 Saccameno Chapter 13 –
                 Modified Chapter 13 Plan
5   02/02/2010                                  No Objection
                 2nd Amended Complaint
                 Exhibit D


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                                                  Objection to Admission,
      Date of                                       (if so, statement of     Admissibility /
                    Description of Document
     Document                                        asserted basis of         Statement
                                                       admissibility)
                  Saccameno Chapter 13 –
                  Litton Loan Servicing Proof
6    02/15/2010   of Claim 1-1                    No Objection

                  Feezer Deposition Exhibit 24
                  Saccameno Chapter 13 –
                  Order Confirming Chapter
                  13 Plan
7    02/17/2010                                   No Objection
                  2nd Amended Complaint
                  Exhibit E
                  Litton Loan Servicing Notice
                  of Servicing Transfer
                  (RESPA) and Welcome to
8    08/15/2011   Ocwen Loan Servicing, LLC No Objection

                  Monette Saccameno
                  Deposition Exhibit 5
                  Saccameno Chapter 13 –
                  Transfer of Claim for
9    10/11/2011   Security (Litton Loan           No Objection
                  Servicing to Ocwen Loan
                  Servicing, LLC)
                  Saccameno Chapter 13 –
                  Trustee’s Notice of Final
10   06/27/2013   Cure Payment to Ocwen           No Objection

                  Feezer Deposition Exhibit 9
                  Saccameno Chapter 13 –
                  Discharge of Debtor After
                  Completion of Chapter 13
11   06/27/2013   (with Certificate of Notice     No Objection
                  served electronically on
                  Ocwen)



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                                                 Objection to Admission,
      Date of                                      (if so, statement of      Admissibility /
                    Description of Document
     Document                                       asserted basis of          Statement
                                                      admissibility)
                  2nd Amended Complaint
                  Exhibit H
                  Saccameno Chapter 13 –
12   09/20/2013   Trustee’s Final Report and     No Objection
                  Account
                  Saccameno Chapter 13 –
                  Trustee’s Financial Detail
                  Disbursement History to
13   03/19/2015                                  No Objection
                  Ocwen Loan Servicing

                  Ocwen.Sacc.000001-000002
                  Ocwen Letter to Saccameno
                  “severely delinquent
14   07/06/2013   mortgage loan”            No Objection

                  Saccameno 000415-000417
                  Saccameno Fax to Ocwen
                  (previously faxed 07-15-
15   08/06/2013   2013)                          No Objection

                  Saccameno 000010-000016
                  Ocwen response to
                  Saccameno’s “request to
                  refinance the loan”
16   08/14/2013                                  No Objection
                  2nd Amended Complaint
                  Exhibit I
                  Ocwen response to
                  Saccameno’s request for
                  information (Account
                  History 07/18/2011-
17   08/14/2013                                  No Objection
                  08/06/2013)

                  Monette Saccameno
                  Deposition Exhibit 15

                                            3
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                                                 Objection to Admission,
      Date of                                      (if so, statement of      Admissibility /
                    Description of Document
     Document                                       asserted basis of          Statement
                                                      admissibility)
                  Ocwen Notes Log
     09/15/2011
                  Feezer Deposition Exhibit 1
18       to                                      No Objection
     07/14/2015
                  Ocwen.Sacc.002261-002443
                  Litton Payment History
     11/17/2006
                  Feezer Deposition Exhibit 2
19       to                                      No Objection
     09/26/2011
                  Ocwen.Sacc.000003-000024
                  AMC Mortgage Services
     01/01/2005   Account Activity Statement
20       to       Feezer Deposition Exhibit 3 No Objection
     11/14/2006
                  Ocwen.Sacc.000025-000044
                  Ocwen Payment History
     07/18/2011
                  Feezer Deposition Exhibit 4
21       to                                      No Objection
     04/02/2014
                  Ocwen.Sacc.000045-000056
                  Ocwen Accounting
     07/18/2011
                  Feezer Deposition Exhibit 5
22       to                                      No Objection
     07/14/2015
                  Ocwen.Sacc.002444-002447
                  Ocwen Detail Transaction
     07/17/2011   History
23       to       Feezer Deposition Exhibit 6 No Objection
     08/02/2016
                  Ocwen.Sacc.002455-002460
                  Ocwen Payment
     07/17/2011   Reconciliation
24       to       Feezer Deposition Exhibit 7 No Objection
     09/27/2016
                  Ocwen.Sacc.002461-002463
                  Returned Payments
25                                               No Objection
     07/27/2011   Saccameno000332;
     10/08/2013   Saccameno000330;

                                            4
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                                                 Objection to Admission,
      Date of                                      (if so, statement of      Admissibility /
                    Description of Document
     Document                                       asserted basis of          Statement
                                                      admissibility)
     11/30/2013   Saccameno000373;
     01/06/2014   Saccameno000331;
     01/28/2014   Saccameno000374
                  Affidavit of Amounts Due
                  and Owing (Foreclosure)
26   06/30/2014                                  No Objection
                  Feezer Deposition Exhibit 12

                  Ocwen.Sacc.001790-001792
                  Loss Mitigation Affidavit
                  (Foreclosure)
27   01/02/2015                                  No Objection
                  Feezer Deposition Exhibit 13

                  Ocwen.Sacc.002078-002082
                  Emails from / to Holly
                  Christian with Screen Shots
28   01/02/2015                                  No Objection
                  Ocwen.Sacc.001779-001786
                  Proposed Modification
                  Agreement
29   02/13/2015                                  No Objection
                  Ocwen.Sacc.001933-001937
                  Ocwen Letter to Saccameno
                  Ineligible for Loan
30   05/14/2015   Modification              No Objection

                  Ocwen.Sacc.001915-001918
                  Cumulative Exhibit – Ocwen
                  Notices, Statements to
        2011      Saccameno
31    through                                    No Objection
        2015      Ocwen.Sacc.001063-001128
                  Ocwen.Sacc.001856-001937
                  Ocwen.Sacc.001942-002074

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                                                 Objection to Admission,
      Date of                                      (if so, statement of      Admissibility /
                    Description of Document
     Document                                       asserted basis of          Statement
                                                      admissibility)
                  Ocwen.Sacc.002114-002210
                  Proposed Modification
                  Agreement with Balloon
32   07/09/2015                                  No Objection
                  Ocwen.Sacc001923-001928
                  Susan Van Sky Letter to
                  Ocwen
33   03/20/2014                                  No Objection
                  Saccameno 000294
                  Susan Van Sky Letter to
                  Ocwen
34   04/28/2014                                  No Objection
                  Saccameno 000292-000293
                  Cumulative Exhibit
                  Saccameno Credit Disputes
                                                 OBJECTION - FRE
                  to TransUnion, Equifax and
35   05/27/2015                                  402 and 403 – There is
                  Experian
                                                 no FCRA claim
                  Saccameno 000262-000288
                  Cumulative Exhibit
                  Credit Reports –
                                                 OBJECTION - FRE
                  TransUnion, Equifax,
36    06/2015                                    402 and 403 – there is
                  Experian
                                                 no FCRA claim
                  Saccameno000202-000216
                  Jill Anderson Narrative
                                              OBJECTION –
                  Anderson Deposition Exhibit
                                              hearsay and see motion
                  2 (retained by Ocwen’s
37    Undated                                 in limine re job loss and
                  counsel)
                                              medical condition /
                                              causation
                  Saccameno 00289-000290
     07/15/2013   Ocwen Call Log
38    through                                 No Objection
     05/21/2014   Ocwen.Sacc.002465-002468



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                                                   Objection to Admission,
      Date of                                        (if so, statement of    Admissibility /
                    Description of Document
     Document                                         asserted basis of        Statement
                                                        admissibility)
                  Medical Records –
     01/27/2011   Dr. William J. Sarantos          OBJECTION – see
39    through                                      motions in limine and
     08/18/2015   Dr. Sarantos’ Deposition         Daubert motion
                  Exhibits 2 and 3
                  Plaintiff’s Expert Witness
                  Report Prepared by:
                                                   OBJECTION – see
                  Bernard Jay Patterson
40   02/02/2017                                    motions in limine and
                                                   Daubert motion
                  Patterson Deposition
                  Exhibits B & C
                  New York State Department
                  of Financial Services
                  In the Matter of Ocwen           OBJECTION – see
41   12/05/2012   Loan Servicing, LLC –            motion in limine re
                  Consent Order                    regulatory actions

                  Saccameno000785-000793
                  In Re: Ocwen Financial
                  Corporation and Ocwen
                  Loan Servicing, LLC –
                                                   OBJECTION – see
                  Multi-State Settlement
42   12/19/2013                                    motion in limine re
                  Agreement and Consent
                                                   regulatory actions
                  Order

                  Saccameno000794-000994
                  CFPB et al v. Ocwen
                  Financial and Ocwen Loan
                                                   OBJECTION – see
                  Servicing, LLC –
43   02/26/2014                                    motion in limine re
                  Consent Judgment
                                                   regulatory actions
                  Saccameno001007-001179
                                                    OBJECTION – see
                  New York State Department
44   12/22/2014                                    motion in limine re
                  of Financial Services
                                                   regulatory actions

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                                                 Objection to Admission,
      Date of                                      (if so, statement of      Admissibility /
                    Description of Document
     Document                                       asserted basis of          Statement
                                                      admissibility)
                  In the Matter of Ocwen
                  Financial Corporation,
                  Ocwen Loan Servicing,
                  LLC – Consent Order

                  Saccameno001180-001201
                  United States District Court
                  Southern District of Florida
                                                 OBJECTION – see
                  CFPB v. Ocwen (9:17-CV-
45   04/20/2017                                  motion in limine re prior
                  80495) – Complaint
                                                 lawsuits
                  Saccameno001303-001395
                  In the Matter of Ocwen
                  Loan Servicing
                                                 OBJECTION – see
                  North Carolina Before the
46   04/20/2017                                  motion in limine re
                  Commissioner of Banks,
                                                 regulatory actions
                  (Docket No. 17:025:MBB)
                  Cease and Desist Order
                  In the Matter of Ocwen
                  Loan Servicing
                  Massachusetts Before the
                  Commissioner of Banks          OBJECTION – see
47   04/20/2017   (Docket No. 2017-001)          motion in limine re
                  Findings of Fact and           regulatory actions
                  Temporary Order to Cease
                  and Desist and Order to
                  Show Cause
                  Ocwen v. Georgia
                  Georgia Department of          OBJECTION – see
48   09/28/2017   Banking and Finance (DBF-      motion in limine re
                  MBL-17-0002)                   regulatory actions
                  Consent Order
                                                 OBJECTION – see
                  In the Matter of: Ocwen
49   09/28/2017                                  motion in limine re
                  Loan Servicing
                                                 regulatory actions

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                                                  Objection to Admission,
      Date of                                       (if so, statement of      Admissibility /
                    Description of Document
     Document                                        asserted basis of          Statement
                                                       admissibility)
                  Michigan Department of
                  Insurance and Financial
                  Services (17-14825)
                  Consent Order
                  In the Matter of: Ocwen
                  Loan Servicing, et al.
                  Illinois Department of          OBJECTION – see
50   09/28/2017   Financial and Professional      motion in limine re
                  Regulation                      regulatory actions
                  (2017-MBR-CD-01-b)
                  Consent Order
                  Daugherty v. Ocwen, et al.
                  (W.VA, May 23, 2016).
                  A federal jury awarded
                  David M. Daugherty of
                                                  OBJECTION – see
                  Vienna, West Virginia
51                                                motion in limine re prior
                  $6,128.39 in compensatory
                                                  lawsuits
                  damages and $2.5 million in
                  punitive damages, finding
                  that Ocwen willfully violated
                  the FCRA.
                  Drew v. Ocwen (U.S.D.C.,
                  MDFL, 8:14-cv-369-T-
                  26TGW). Jury verdict was
                  entered for Drew in the         OBJECTION – see
52                amount of $327,000 against      motion in limine re prior
                  Ocwen for violating the         lawsuits
                  TCPA by making 218 calls
                  to plaintiff’s cell phone
                  regarding a discharged debt.
                  Cornejo v. Ocwen (EDCA 1-
                  15-cv-993). A jury returned     OBJECTION – see
53                a verdict against Ocwen for     motion in limine re prior
                  $339,642 for “dual-tracking”    lawsuits
                  in violation of California’s

                                            9
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                                                 Objection to Admission,
      Date of                                      (if so, statement of     Admissibility /
                    Description of Document
     Document                                       asserted basis of         Statement
                                                      admissibility)
                  homeowner’s bill of rights.
                  Court entered judgment in
                  favor of plaintiffs in an
                  amount that includes the
                  actual economic damages
                  and treble the actual
                  economic damages but does
                  not include emotional
                  distress.
                  Guzman v. Ocwen Federal
                  Bank, et al. (03-CV-61011-
                  2, Nueces County, TX).
                  A jury found Ocwen Federal
                  Bank (this defendant’s
                                                OBJECTION – see
                  predecessor) guilty of
54                                              motion in limine re prior
                  malfeasance and criminal
                                                lawsuits
                  conduct and awarded
                  plaintiff $3 million.

                  Saccameno in the process of
                  obtaining Certified copies
                  Sealy Davis v. Ocwen
                  Federal Bank, et al. (04-
                  CV-1469, Galveston County,
                  TX, November 29, 2005).
                                                OBJECTION – see
                  A Galveston, Texas jury
55                                              motion in limine re prior
                  awarded $11.5 million to
                                                lawsuits
                  Davis ($10 million in
                  punitive damages and $1.5
                  million for mental anguish
                  and economic damages).
                  Norman v. Deutsche Bank
                                                OBJECTION – see
                  National Trust Co. and
56                                              motion in limine re prior
                  Ocwen Loan Servicing, et
                                                lawsuits
                  al. (Yellowstone County,


                                           10
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                                                      Objection to Admission,
      Date of                                           (if so, statement of      Admissibility /
                    Description of Document
     Document                                            asserted basis of          Statement
                                                           admissibility)
                  Montana District Court,
                  November 2015, Case
                  Number DV 12-1638). The
                  Montana jury awarded the
                  Normans $450,000 in
                  compensatory damages and
                  $1.6 million in punitive
                  damages.

                  Saccameno in the process of
                  obtaining Certified copies
                  Deutsche Bank National
                  Trust Company v. Caldwell
                  v. Ocwen Loan Servicing,
                  LLC (Mobile County,
                  Alabama, Circuit Court Case
                  No. CV-2010-901880,
                  December 2015). The
                                                      OBJECTION – see
                  Mobile, Alabama jury
57                                                    motion in limine re prior
                  awarded $25,000 in
                                                      lawsuits
                  compensatory damages and
                  $375,000 in punitive
                  damages to the Caldwells
                  whose home was wrongfully
                  foreclosed on by Deutsche
                  Bank and its servicer,
                  Ocwen.
                  Cartel Asset Mgmt. v.
                  Ocwen Fin. Corp. (2011
                  U.S. Dist. LEXIS 37120,
                                                      OBJECTION – see
                  *10). Cartel sued Ocwen
58                                                    motion in limine re prior
                  and its affiliates for theft of a
                                                      lawsuits
                  trade secret. A jury returned
                  a verdict for Cartel for more
                  than $12.72 million in


                                               11
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                                                    Objection to Admission,
      Date of                                         (if so, statement of      Admissibility /
                    Description of Document
     Document                                          asserted basis of          Statement
                                                         admissibility)
                  compensatory and punitive
                  damages. Final judgment
                  entered in the total amount
                  of $14,574,183: $6,359,588
                  as damages for unjust
                  enrichment; $855,007 as
                  prejudgment interest;
                  $7,359,588 as punitive
                  damages based on the jury
                  verdict; post judgment
                  interest accrued at the rate of
                  0.26 percent per annum; and
                  plaintiff awarded its costs.
                  Arrington v. Ocwen Loan
                  Servicing, LLC, (In re
                  Arrington) (2017 Bankr.
                  LEXIS 3228*). Ocwen’s
                                                    OBJECTION – see
                  failure to credit payments
59                                                  motion in limine re prior
                  received under a confirmed
                                                    lawsuits
                  Bankruptcy plan, improperly
                  charging fees, improperly
                  reporting mortgage as in
                  default.
                  In re Adams (2010 Bankr.
                  LEXIS 2207*; 2010 WL
                  2721205). Ocwen was in
                  contempt of both the
                  Bankruptcy discharge order         OBJECTION – see
60                and the order that clearly        motion in limine re prior
                  deemed the debtors’               lawsuits
                  mortgage current as of the
                  date and specifically
                  prohibited actions contrary
                  to that conclusion.



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                                                  Objection to Admission,
      Date of                                       (if so, statement of      Admissibility /
                    Description of Document
     Document                                        asserted basis of          Statement
                                                       admissibility)
                  In re Dogar-Marinesco
                  (2016 Bankr. LEXIS 4111*).
                  Court finds OneWest,            OBJECTION – see
61                Ocwen, Wells Fargo, RAS         motion in limine re prior
                  Boriskin and Duane Morris       lawsuits
                  LLP in violation of the
                  discharge injunction.
                  In re McKain (2009 Bankr.
                  LEXIS 2519*; 2009 WL
                  2848988). Ocwen repeatedly
                  abused the claims process
                  and failed to honor the
                  Bankruptcy discharge
                  injunction. The court found
                                                  OBJECTION – see
                  that Ocwen “has a clear
62                                                motion in limine re prior
                  pattern of abusing the claims
                                                  lawsuits
                  process by ignoring the
                  discharge injunction or
                  attempting to collect
                  undisclosed debts” and
                  required Ocwen to institute
                  the accounting procedures
                  set forth by the Court.
                  In re Perviz (302 B.R. 357
                  *; 2003 Bankr. LEXIS
                                                  OBJECTION – see
                  1647**). Ocwen and law
63                                                motion in limine re prior
                  firm found in contempt for
                                                  lawsuits
                  violating automatic stay and
                  discharge.
                  In re Todt (567 B.R. 667*;
                  2017 Bankr. LEXIS 1337**;
                                                  OBJECTION – see
                  2017 BNH 007; 77 Collier
64                                                motion in limine re prior
                  Bankr. Cas.2d (MB) 1353).
                                                  lawsuits
                  Ocwen violated discharge
                  injunction.


                                           13
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                                                 Objection to Admission,
      Date of                                      (if so, statement of     Admissibility /
                    Description of Document
     Document                                       asserted basis of         Statement
                                                      admissibility)
                  Phillips v. Deutsche Nat’l
                  Trust (In re Phillips) (2011
                  Bankr. LEXIS 3780).
                  Ocwen and Deutsche Bank
                  violated discharge
                  injunction. Mortgage         OBJECTION – see
65                account deemed current as of motion in limine re prior
                  June 30, 2007, Ocwen failed lawsuits
                  to properly credit payments
                  to achieve a current status,
                  deemed account delinquent
                  and in default resulting in
                  injury to debtors.
                                               OBJECTION – see
                  Ocwen Financial              motion in limine
66   09/30/2017
                  Corporation Form 10-Q        punitive damages and
                                               motion to bifurcate
                  Potestivo Letter to David
                  Cohen - Reinstatement
                  Amount through 02/06/2015
67   01/19/2015   = $36,572.43                 No Objection

                  2nd Amended Complaint
                  Exhibit J
                  Ocwen acknowledgment of
                  request for research
68   03/26/2014                                 No Objection
                  Ocwen.Sacc.000241
                  Ocwen Response to Van
                  Sky’s “Request for
69   04/09/2014   Information”                  No Objection

                  Ocwen.Sacc.002017-002030
                  SSC Brentwood Operating  OBJECTION – FRE
70   10/22/2014
                  Company LLC letter to    801 and 802

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                                            Objection to Admission,
 Date of                                      (if so, statement of     Admissibility /
               Description of Document
Document                                       asserted basis of         Statement
                                                 admissibility)
             Saccameno offering position
             of Director of Nursing

             Saccameno 000027-000032




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